        Case 22-10609-amc                 Doc 480-2 Filed 10/18/24 Entered 10/18/24 14:26:34                                        Desc
                                                  Exhibit B Page 1 of 1

                                           Exhibit B: Satisfied, Released, and/or Waived Proofs of Claim
                                       Schedule F Schedule F                                          Allowed      Disputed     Omnibus Objection
                  Creditor                                       C, U, D    POC#     POC Amount
                                        Amount         No.                                             Claim        Claims        Paragraphs
AA Glass Industries LLC
                                                                         Amended
2345 Route 9, Unit #3                   $46,431.26         3.6                         $54,131.31                  $54,131.31         23-27
                                                                            9
Toms River, NJ 08755
Bristol Millwork Inc.
4560 Tacony Street                     $146,655.40        3.31     C         49      $146,655.40                  $146,655.40         23-27
Philadelphia, PA 19124
Cippco Inc.
9323 Keystone Street                   $151,981.07        3.36 C, U, D       32      $174,420.29                  $174,420.29         23-27
Philadelphia, PA 19114
Component Assembly Systems, Inc.
580 Virginia Drive, Suite 140                $0.00        3.39 C, U, D                                    $0.00                       23-27
Fort Washington, PA 19034
DDM Steel
3659 North Delsea Drive                 $44,784.69        3.44     C         53        $64,857.00                  $64,857.00         23-27
Vineland, NJ 08360

Eckert Seamans Cherin & Mellott, LLC
2 Liberty Place
                                              N/A         N/A                70        $16,225.00                  $16,225.00         23-27
50 S. 16th Street, 22nd Floor
Philadelphia, PA 19102

Elite Painting Service
                                                                         Amended
600 Deer Road, Suite 10                 $87,860.00        3.56                         $97,700.00                  $97,700.00         23-27
                                                                           27
Cherry Hill, NJ 08034
Freedom Glass & Metal, Inc.
4 White Horse Pike                      $92,071.68        3.58     C         40        $92,071.68                  $92,071.68         23-27
Clementon, NJ 08021
Hasan Tahiraj
c/o Mullaney & Gjelaj, PLLC
                                             $0.00        3.67 C, U, D                                    $0.00                       23-27
100-09 Metropolitan Avenue
Forest Hills, NY 11375
James Floor Covering Inc.
2604 Durham Road                        $70,562.82        3.76 C, U, D                                    $0.00                       23-27
Bristol, PA 19007
KLS Logistics, Inc.
c/o DHL Supply Chain (USA)
Attn: Legal Department                       $0.00        3.83 C, U, D                                    $0.00                       23-27
360 Westar Boulevard
Westerville, OH 43082
KPG-MCG Curtis Tenant LLC
Keystone Property Group
                                             $0.00        3.84 C, U, D                                    $0.00                       23-27
125 E. Elm Street, Suite 400
Conshohocken, PA 19428
Network Flooring & Maintenance
101 W Abbey Drive                       $25,177.29       3.105               13        $26,447.29                  $26,447.29         23-27
Townsend, DE 19734
Pennsylvania Flooring
66 Ford Road, Suite 141                $117,611.40       3.114     C         47       $155,912.40                 $155,912.40         23-27
Denville, NJ 07834
Philip Borst
641 Pugh Road                          $213,000.00       3.117               57       $231,000.00                 $231,000.00         23-27
Wayne, PA 19087
Revolution Recovery LLC
7333 Milnor Street                       $6,930.10       3.126               37         $8,631.60                   $8,631.60         23-27
Philadelphia, PA 19036
Superior Scaffold Services Inc.
600 Center Avenue                       $15,552.57       3.143     C         18        $28,409.28                  $28,409.28         23-27
Bensalem, PA 19020
Towne and Country Roofing & Siding
4775 Lerch Road                         $34,355.44       3.148     C         6         $48,097.61                  $48,097.61         23-27
Bensalem, PA 19020




4889-1864-0598 v3-10/18/24                                               1
